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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION


LELAND FOSTER,

                                             Case No. 2:17-cv-10809
             Plaintiff,
v.                                           Paul D. Borman
                                             United States District Judge
ADRIAN EASTPOINT CENTER LLC,
a Utah Limited Liability Company,


          Defendant.
________________________________/

                            JOINT STIPULATION OF
                  FULL AND FINAL DISMISSAL WITH PREJUDICE

      Plaintiff, Leland Foster, (“Plaintiff”) and Defendant, Adrian Eastpointe

Center, LLC., (“Defendant”), by and through their undersigned counsel, pursuant

to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), stipulate to the voluntary

dismissal with prejudice of the above-captioned matter.

      1.     All of Plaintiff’s claims in this Lawsuit will be dismissed with

prejudice against being re-filed.

      2.     Each party shall bear its own attorneys’ fees, expert fees, litigation

expenses and costs incurred in litigating these claims except as otherwise agreed to
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in writing among the parties.

Dated: June 20 , 2017             Respectfully submitted,

/s/ Owen B. Dunn , Jr.                /s/ Kristen L. Cook
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Counsel for Plaintiff                 Counsel for Defendant
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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

LELAND FOSTER,

             Plaintiff,                      Case No. 2:17-cv-10809
v.
                                             Paul D. Borman
ADRIAN EASTPOINT CENTER LLC,                 United States District Judge
a Utah Limited Liability Company,

          Defendant.
________________________________/

                 ORDER GRANTING JOINT STIPULATION
            OF FULL AND FINAL DISMISSAL WITH PREJUDICE

      The Court has considered the Joint Stipulation of Full and Final Dismissal

with Prejudice filed by Plaintiff, Leland Foster, and Defendant, Adrian Eastpointe

Center, LLC, the pleadings on file, and all other things before it.      The Court

hereby dismisses this matter with prejudice against being re-filed. Each party shall

bear its own fees, expenses and costs except as otherwise agreed to in writing

among the parties.

      IT IS SO ORDERED.

                                             s/Paul D. Borman
                                             Paul D. Borman
                                             United States District Judge

Dated: June 23, 2017
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                          CERTIFICATE OF SERVICE

      The undersigned certifies that a copy of the foregoing order was served upon
each attorney or party of record herein by electronic means or first class U.S. mail
on June 23, 2017.

                                             s/D. Tofil
                                             Deborah Tofil, Case Manager
